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           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF COLUMBIA


WILLKIE FARR & GALLAGHER LLP,
1875 K Street, NW
Washington, DC 20006

                 Plaintiff,
v.

UNITED STATES DEPARTMENT OF STATE
2201 C Street, N.W,
HST, Room 6421, Washington, D.C, 20520
                                            Case No.: 20-cv-1146



                 Defendant.



             COMPLAINT FOR VIOLATION OF THE
              FREEDOM OF INFORMATION ACT
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                                        INTRODUCTION

       1.       Plaintiff Willkie Farr & Gallagher LLP represent hundreds of American military

veterans and Gold Star families who were gravely injured, or whose relatives were killed or

wounded by terrorist attacks in Afghanistan. See Cabrera et al v. Black & Veatch Special

Projects Corporation et al, Case No. 1:19-cv-03833-EGS (D.D.C.). Plaintiff brings this action

for relief under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), to compel the United

States Department of State (the “Department”) to produce records as required by law related to

contractor payments to the Taliban.

       2.       On March 2, 2020, Plaintiff properly submitted eight targeted requests to the

Department in accordance with FOIA and applicable department regulations.

       3.       The Department’s statutory deadline for making a determination concerning each

request has expired. However, the Department has neither produced documents nor made a

determination as to any of these eight requests. The Department’s failure to act on Plaintiff’s

requests violates FOIA and the Department’s applicable regulations.

       4.       More than a decade ago, the President directed federal agencies to adopt a

“presumption in favor of disclosure” and to respond to FOIA requests “promptly and in a spirit

of cooperation,” so that “openness prevails.” FOIA Pres. Mem., 74 Fed. Reg. 4683, 4683 (Jan.

21, 2009). The Department has thus far disregarded this directive.

       5.       Plaintiff has constructively exhausted administrative remedies pursuant to 5

U.S.C. § 552(a)(6)(C)(i) and now seeks judicial relief compelling the Department to promptly

search for and produce the requested records, and enjoining any further improper withholding.

                                 JURISDICTION AND VENUE

       6.       This Court has jurisdiction under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §§ 1331,

2201(a), and 2202.
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       7.       Venue lies in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §

1391(e)(1).

                                             PARTIES

       8.       Plaintiff Willkie Farr & Gallagher LLP is a law firm with an office in

Washington, D.C. Plaintiff submitted each of the FOIA requests identified in this Complaint.

       9.       Defendant Department is an “agency” of the federal government within the

meaning of 5 U.S.C. § 552(f)(1). The Department is believed to have possession, custody, and

control of records responsive to Plaintiff’s requests.

                                   FACTUAL ALLEGATIONS

I.     Background

       10.      Plaintiff and its undersigned co-counsel represent hundreds of U.S. citizens who

were killed or injured, or whose relatives were killed or injured, by Taliban-led terrorist

insurgents in Afghanistan between 2009 and 2017. These victims have asserted claims in this

District seeking damages under the federal Anti-Terrorism Act against several large contractors

with lucrative businesses in post-9/11 Afghanistan who are alleged to have helped finance the

terrorist attacks by, among other things, paying the Taliban to refrain from attacking their

business interests. See Complaint, Cabrera (Dkt. No. 1).

       11.      As alleged in the Cabrera Complaint, the U.S. government publicly opposed

protection payments and attempted to stop them. Multiple agencies, including the Defendant

Department, set up task forces designed to interrupt the flow of protection money to terrorists,

and U.S. officials stated repeatedly that such payments were illegal and counterproductive.

Federal regulations also required prime contractors to ensure that their contracting practices –

including the money spent downstream by their subcontractors – did not finance terrorism.
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        12.      Plaintiff submitted the FOIA requests at issue to obtain Department records

relevant to issues raised in Cabrera, including governmental records documenting and analyzing

protection payments, and other corrupt acts, committed by the Cabrera defendants. Additionally,

the various requests seek contracts and related documents relevant to the Cabrera defendants’

conduct in Afghanistan, which resulted in those defendants providing significant sums of U.S.

taxpayer dollars to the very terrorists our country was fighting.

        13.      The requested records have broader public significance beyond the Cabrera

litigation. National media has reported on the Cabrera plaintiffs’ efforts to hold the Cabrera

defendants accountable, reflecting the public’s interest in allegations that large corporations

financed terrorism in Afghanistan.1

II.     Plaintiff Properly Submitted Eight FOIA Requests for Department Records

        14.      On March 2, 2020, Plaintiff properly submitted eight separate requests for records

via the Department’s FOIA e-mail address (foiarequest@state.gov) provided on the

Department’s public website. Freedom of Information Act, Information Access Guide, U.S.

Dep't of State, (April 23, 2020, 1:53 AM),

https://web.archive.org/web/20200423134412/https://foia.state.gov/Request/Guide.aspx (static



1
  See e.g. Eirk Larson, Families of Afghan War Dead Say Contractors Bribed Taliban, Bloomberg (Dec. 27, 2019),
https://www.bloomberg.com/news/articles/2019-12-27/families-of-u-s-afghan-war-dead-say-contractors-bribed-
taliban; Kevin Breuninger and Lauren Hirsch, US contractors sued for allegedly paying ‘protection money’ to the
Taliban in Afghanistan, CNBC (Dec. 27, 2019), https://www.cnbc.com/2019/12/27/lawsuit-contractors-paid-
protection-money-used-in-terrorist-insurgency.html; David Shortell, Gold Star family lawsuit alleges contractors in
Afghanistan funneled money to the Taliban, CNN (Dec. 27, 2019),
https://www.cnn.com/2019/12/27/politics/afghanistan-contractor-suit/index.html; Adam Shaw, Families of
Americans killed in Afghanistan sue contractors over alleged Taliban payments, Fox News (Dec. 27, 2019),
https://www.foxnews.com/politics/families-of-americans-killed-in-afghanistan-sue-contractors; Michael R. Gordon
and Jessica Donati, U.S., International Contractors Sued for Allegedly Paying Protection Money to Taliban, Wall
Street Journal (Dec. 27, 2019),
https://www.wsj.com/articles/u-s-international-contractors-sued-for-allegedly-paying-protection-money-to-taliban-
11577468921.
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internet archive showing the contents of https://foia.state.gov/Request/Guide.aspx as of April 23,

2020). As discussed more fully below, each request “reasonably describes” the records Plaintiff

seeks, 5 U.S.C. § 552(a)(3)(A)(i), and, to the extent possible, specifies documents, authors, dates,

and corroborating information establishing the existence of the requested records. The requests

are summarized in the following eight paragraphs and attached in full as Exhibits 1 through 8.

        15.     Request F-2020-05124 (Exhibit 1) seeks a single document: “Ambassador Karl

W. Eikenberry, Contracting Oversight in Counterinsurgency (COIN) Strategy, The Embassy of

the United States, Kabul, Afghanistan, November 3, 2010 as described in Moshe Schwartz,

Wartime Contracting in Afghanistan: Analysis & Issues For Congress at 8 n. 33, Congressional

Research Service (Nov. 14, 2011) available at https://fas.org/sgp/crs/natsec/R42084.pdf.”

        16.     Request F-2020-05126 (Exhibit 2) seeks specified contracts and related

documentation concerning projects in Afghanistan performed or contracted for performance by

specific contractors listed in the request.

        17.     Request F-2020-05127 (Exhibit 3) seeks diplomatic cables originating from

Kabul or Washington D.C. regarding contracting or reconstruction projects and/or private

security companies and terrorist finance. The request includes suggested search terms, as well as

a list of exemplar documents known to exist and known to be responsive to the request.

        18.     Request F-2020-05128 (Exhibit 4) seeks diplomatic cables originating from

Kabul or Washington D.C. relating to Afghanistan and including the names of specific

contractors listed in the request.

        19.     Request F-2020-05129 (Exhibit 5) seeks documents authored, created, or sent by

Jim Wasserstrom, a Senior Advisor on Anticorruption at the U.S. Embassy in Kabul and a Senior

Advisor and Team Lead on the Corruption Team at the Special Inspector General for
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Afghanistan Reconstruction (“SIGAR”). The requested documents relate to contracting or

reconstruction projects and/or private security companies and terrorist finance.

          20.   Request F-2020-05130 (Exhibit 6) seeks documents authored, created, or sent by

the Joint Narcotics Analysis Center regarding contracting or reconstruction projects and/or

private security companies and terrorist finance.

          21.   Request F-2020-05131 (Exhibit 7) seeks contracts and related documentation

concerning Kabul Embassy Guard Contracts in Afghanistan, at least some of which are known to

have been awarded to specifically named defense contractors. Specific contracts known to exist

and known to be responsive to the request are given as illustrations to guide the Department’s

search.

          22.   Request F-2020-05132 (Exhibit 8) seeks documents used or created by the U.S.

State Department Terrorism Finance Working Group (as referenced in Department of Defense

Directive No. 5205.14, Enclosure 2, paragraph 2(g), available at

https://www.hsdl.org/?view&did=800805) referring to any of the following in connection with

Afghanistan: (a) government contracting; (b) mobile-phone networks; (c) extortion; and (d) a list

of specific contractors.

          23.   On April 1, 2020, more than 20 working days after the delivery of the

aforementioned FOIAs, Plaintiff sent a letter to the Department’s FOIA Office e-mail address

(foiarequest.gov) to inform the Department that Plaintiff had yet to receive a determination as

required under FOIA. This letter is attached as Exhibit 9.

          24.   On April 8, 2020, the Department emailed Plaintiff three acknowledgment e-mails

assigning tracking numbers to requests F-2020-05124, F-2020-05127, and F-2020-05128 as

detailed in the table below, and indicating that the requests had been received by the appropriate
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office within the Department. The e-mails incorrectly indicated that the three requests had been

received on April 2, 2020, despite the fact that they had been properly delivered to the

Department’s FOIA email address on March 2, 2020. With respect to request F-2020-05124, the

Department additionally indicated that “[the] Office will not be able to respond within the 20

days provided by the statute due to ‘unusual circumstances.’ See 5 U.S.C. § 552(a)(6)(B)(i)-(iii).

In this instance, the unusual circumstances include the need to search for and collect requested

records from other Department offices or Foreign Service posts.” No additional information was

provided to or requested from Plaintiff in these initial acknowledgments. These

acknowledgment e-mails are included as Exhibits 10, 11, and 12.

       25.     On April 9, 2020, Plaintiff sent the Department a letter pointing out the incorrect

receipt date for Request Nos. F-2020-05124, F-2020-05127, and F-2020-05128, and again

seeking a prompt determination on each of its requests. This letter is attached as Exhibit 13.

       26.     On April 10, 2020, the Department emailed Plaintiff five additional

acknowledgment e-mails assigning tracking numbers to Request Nos. F-2020-05126, F-2020-

05129, F-2020-05130, F-2020-05131, and F-2020-05132. Each acknowledgment email

indicated that these five requests had been received by the appropriate office within the

Department on March 2, 2020. With respect to all five requests, the Department indicated it

would invoke the “unusual circumstances” extension, despite the fact that the period in which an

extension could be requested pursuant to FOIA had already expired. No additional information

was provided to or requested from Plaintiff in these initial acknowledgments. These

acknowledgment e-mails are included as Exhibits 14, 15, 16, 17, and 18.

       27.     On April 15, 2020, Plaintiff sent the Department another letter stating that the

Department was not in compliance with its obligations under FOIA for each of the eight
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requests, and again seeking a prompt determination on each of its requests. This letter is

attached as Exhibit 19.

         28.      On April 22, 2020, the Department sent the Plaintiff an email stating that the

“[estimated date of completion] for all of your requests is February 3, 2023,” just under three

years from the date the requests were submitted. See Exhibit 20.

         29.      The Department has never asserted that any of these requests failed to reasonably

describe the records sought or was improper or deficient in any manner. Nor has the Department

ever requested any additional information from Plaintiff. Instead, the Department has failed to

respond substantively at all to Plaintiff’s requests and repeated correspondence, only responding

to inform Plaintiff that it should not expect a response or determination on any its requests until

2023.

III.     The Department Failed to Make Determinations within FOIA’s Time Limits, and
         Plaintiff Has Constructively Exhausted Administrative Remedies

         A.       The Department Violated FOIA’s Time Limits and Search Requirements

         30.      Under FOIA, an agency must process and make a “determination” on a FOIA

request within 20 working days of receiving the request (or 30 working days should an agency

provide a written notice within the 20 day working period setting forth any “unusual

circumstances”2 for such extension). 5 U.S.C. §§ 552(a)(6)(A)(i) and (viii). The statute

specifically mandates that the agency must, at a minimum: (i) gather and review requested

documents; (ii) determine and communicate the scope of the documents it intends to produce and

withhold, along with the reasons for withholding any documents; and (iii) inform the requester


2
  As defined in FOIA, “unusual circumstances” means, “(I) the need to search for and collect the requested records
from field facilities or other establishments that are separate from the office processing the request; (II) the need to
search for, collect, and appropriately examine a voluminous amount of separate and distinct records which are
demanded in a single request; or (III) the need for consultation, which shall be conducted with all practicable speed,
with another agency having a substantial interest in the determination of the request or among two or more
components of the agency having substantial subject-matter interest therein.” 5 U.S.C. § 552(a)(6)(B)(iii).
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that it can appeal whatever portion of the “determination” is adverse. See Spannaus v. DOJ, 824

F.2d 52, 59 n. 7 (D.C.Cir.1987); Citizens for Responsibility and Ethics in Washington v. Federal

Election Com'n, 711 F.3d 180 (D.C. Cir. 2013).

       31.     While FOIA provides that under “unusual circumstances” an agency may extend

the 20-day period to respond by an additional ten working days, according to the Department’s

own FOIA regulations, in order to claim such extension the Department was required to provide

Plaintiff with written notification “of the unusual circumstances involved and of the date by

which processing of the request can be expected to be completed,” “before expiration of the 20-

day period to respond.” 22 C.F.R. § 171.11(g).

       32.     Pursuant to the Department’s FOIA regulations, “[t]he Department is in receipt of

a request when it reaches the [Office of Information Programs and Services].” 22 C.F.R. §

171.11(e). As such, on information and belief, each of the above referenced FOIA requests were

received on March 2, 2020, when they were delivered to the Department’s FOIA email address.

As the Department did not request an extension within the 20-working-day period for any of the

eight requests, the Department was required to make a determination on all requests by March

31, 2020, the date marking 20 working days after the receipt of the above referenced requests.

See also 22 C.F.R. § 171.11(g) (“The statutory time limit for responding to a FOIA request or to

an appeal from a denial of a FOIA request is 20 working days”).

       33.     Even had the Department made a timely request for an extension on any of these

five requests, the Department would have been required to provide a determination at the latest

by April 14, 2020, which it did not do. Additionally, for all requested extensions, the Department

failed to specify the expected date it would be able to make its determination, as required by 5

U.S.C. § 552(a)(6)(B)(i) (allowing an extension only if the Department provides “written notice .
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. . setting forth the unusual circumstances . . . and the date on which a determination is expected

to be dispatched”). See also 22 C.F.R. § 171.11(g) (“Whenever the statutory time limit for

processing a request cannot be met because of ‘unusual circumstances’ as defined in the FOIA,

and the Department extends the time limit on that basis, the Department shall, before expiration

of the 20-day period to respond, notify the requester in writing of the unusual circumstances

involved and of the date by which processing of the request can be expected to be completed.”)

(emphasis added).

       34.     As to the Department’s earlier claim in its April 8, 2020 correspondence that three

of the eight requests (Nos. F-2020-05124, F-2020-05127, and F-2020-05128) were received on

April 2, 2020, according to the Department’s FOIA regulations, “[r]egardless of which …

office[] authorized to receive FOIA requests receives the request…, the Department shall have

no more than 10 working days to direct a request to the appropriate office…, at which time the

20-day limit for responding to the request will commence.” Id. Therefore, even assuming the

Department did not in fact “receive” the three requests on March 2, 2020 (despite having

received the other five requests sent on the same date to the same email address), the Department

would be deemed to have received such requests at the latest by 10 days after they were

submitted to the Department’s FOIA email address, or by March 16, 2020. The Department

would therefore be required to have made a determination on these three requests, or have

requested up to a 10-day extension based on unusual circumstances, at the latest by April 13,

2020. As reflected in the table below, the Department only requested a 10-working-day

extension for one of the three requests (No. F-2020-05124) it claimed it did not receive on March

2, 2020 (without, however, providing the date by which processing of the request can be

expected to be completed). Therefore, were Request No. F-2020-05124 deemed to have been
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received on March 16 (not on March 2, when the request was actually sent to the Department),

the Department would have had at the latest until April 27, 2020 to provide a determination,

which it did not do. The Department likewise did not provide a determination or seek a timely

extension for the remaining two requests (Nos. F-2020-05127, and F-2020-05128) by April 13,

2020.

        35.      For each of the eight FOIA requests at issue, the below table summarizes the date

of submission, date of perfection, date of acknowledgment, and date of timely and untimely

invocation of extension, as well as the latest date when a timely determination would be due

under statute and Department regulations.

 Submission            Request             Date of                 Extension             Latest Determination
    Date               Number             Perfection3            Requested Date                Due Date
March 2, 2020       F-2020-05124        March 16, 20204           April 8, 2020             April 27, 2020
March 2, 2020       F-2020-05126        March 2, 2020            April 10, 2020            March 31, 2020
                                                                   (untimely)
March 2, 2020       F-2020-05127         March 16, 2020              None                   April 13, 2020
March 2, 2020       F-2020-05128         March 16, 2020              None                   April 13, 2020
March 2, 2020       F-2020-05129         March 2, 2020           April 10, 2020             March 31, 2020
                                                                   (untimely)
March 2, 2020       F-2020-05130          March 2, 2020          April 10, 2020             March 31, 2020
                                                                   (untimely)
March 2, 2020       F-2020-05131          March 2, 2020          April 10, 2020             March 31, 2020
                                                                   (untimely)
March 2, 2020       F-2020-05132          March 2, 2020          April 10, 2020             March 31, 2020
                                                                   (untimely)

        36.      As no determinations were made for any of the requests within any of the

permissible time periods, the Department is in violation of its statutory obligations under FOIA

for all eight requests.


3
  The Department “receives” a request when “the appropriate component” receives it, or 10 business days after any
agency FOIA office receives it. 5 U.S.C. § 552(a)(6)(A)(ii); 22 U.S.C. § 171.11(e) (State Department regulations
describing the same timing).
4
  While Plaintiff maintains that all eight requests were received on March 2, 2020, even assuming the Department
did not receive the submitted requests when they were sent to its FOIA email address, the latest date in which the
request would be deemed “received” would be 10 working days after submission (i.e. March 16, 2020).
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       37.     The Court should therefore compel the Department to expeditiously complete

adequate searches, make determinations, and produce responsive, non-exempt documents.

       B.      Plaintiff Has Constructively Exhausted Administrative Remedies

       38.     For each of the eight requests, the Department has not stated which documents

will be produced or withheld, provided reasons for any withholding, or informed Plaintiff of

appellate rights. The Department has only informed Plaintiff that any response is not expected

until February 3, 2023. The Department has thus not made a determination. See Spannaus v.

DOJ, 824 F.2d 52, 59 n. 7 (D.C.Cir.1987); Citizens for Responsibility and Ethics in Washington

v. Federal Election Com'n, 711 F.3d 180 (D.C. Cir. 2013).

       39.     As stated above, the time limits under FOIA and Department regulations have

expired for each request at issue. 5 U.S.C. §§ 552(a)(6)(A)(i) and (B)(i); 22 U.S.C. § 171.11. As

such, Plaintiff is therefore “deemed to have exhausted [] administrative remedies” with respect to

the foregoing FOIA violations, and the FOIA statute authorizes Plaintiff to bring suit in this

District to compel prompt production and enjoin continued wrongful withholding of records

responsive to Plaintiff’s requests. See 5 U.S.C. § 552(a)(6)(C)(i).


                                     CLAIMS FOR RELIEF

                         COUNT ONE: Failure to Comply with FOIA

       40.     Plaintiff repeats and re-alleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       41.     Plaintiff properly requested records within the possession, custody, and control of

the Department.

       42.     The Department is an “agency” subject to FOIA.
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       43.     The Department was required under 5 U.S.C. § 552(a)(3) to conduct a reasonable

search for records responsive to Plaintiff’s FOIA requests.

       44.     The time under 5 U.S.C. § 552(a)(6) for the Department to conduct such a search

and to make a determination as to each of Plaintiff’s FOIA requests, informing Plaintiff which

documents the Department intends to produce and withhold, and the reasons for withholding any

documents, has expired.

       45.     The Department has wrongfully failed to make and communicate to Plaintiff a

determination as to each of Plaintiff’s FOIA requests.

       46.     Pursuant to 5 U.S.C. § 552(a)(3)(A), the Department was required to promptly

produce all responsive records that are subject to disclosure under FOIA.

       47.     The Department has wrongfully failed to make such a production for any of

Plaintiff’s FOIA requests.

       48.     Plaintiff has exhausted administrative remedies pursuant to 5 U.S.C. §

552(a)(6)(C)(i).

       49.     Plaintiff is entitled to an order compelling the Department to conduct reasonable

searches sufficient to locate responsive records and to expeditiously produce all responsive

records, subject to withholdings agreed to by the parties or approved by the Court.

       50.     To facilitate determination of the validity of any withholdings based on FOIA

exemptions the Department may ultimately assert, Plaintiff seeks an order compelling the

Department to produce indexes justifying redactions to or withholding of responsive records.

                   COUNT TWO: Declaration Precluding Assessment of Fees

       51.     Plaintiff repeats and re-alleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       52.     The Department has failed to comply with time limits under 5 U.S.C. § 552(a)(6).
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       53.       The Department failed to provide timely written notice to Plaintiff of any unusual

circumstances.

       54.       The Department has not discussed or attempted to discuss with Plaintiff how or

whether Plaintiff could limit the scope of any of Plaintiff’s FOIA requests.

       55.       No court has determined that exceptional circumstances exist.

       56.       Accordingly, Plaintiff is entitled to a declaration that the Department may not

assess any search fees associated with any of Plaintiff’s FOIA requests, pursuant to 5 U.S.C. §

552(a)(4)(A)(viii) and 28 U.S.C. § 2201(a).



                                      PRAYER FOR RELIEF

       57.       Plaintiff requests that the Court:

                 a. Order the Department to expeditiously conduct a reasonable search for all
                    records responsive to Plaintiff’s FOIA requests, to the extent such a search has
                    not already been conducted, and to demonstrate that it employed search
                    methods reasonably likely to lead to the discovery of responsive records;

                 b. Order the Department to produce within twenty (20) days or such other time
                    as the Court deems proper all records responsive to Plaintiff’s FOIA requests
                    that are subject to disclosure under FOIA, as agreed to by the parties or
                    determined by the Court, and indexes justifying any withholdings or
                    redactions;

                 c. Declare that the Department failed to comply with the time limits under 5
                    U.S.C. § 552(a)(6) and that search fees therefore may not be assessed under §
                    552(a)(4)(A)(viii) with respect to any of Plaintiff’s FOIA requests;

                 d. Award Plaintiff attorney’s fees and costs incurred in relation to this case,
                    pursuant to 5 U.S.C. § 552(a)(4)(E); and

                 e. Grant Plaintiff any other relief the Court deems just and proper.


Dated: May 1, 2020
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                                                        Respectfully submitted,

                                                        /s/ Randall Jackson______________
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